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 6

 7                                IN THE UNITED STATES DISTRICT COURT
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9
                                                    )
10   UNITED STATES OF AMERICA,                      )   CASE NO. 15-CR-00227-JAM
                                                    )
11               Plaintiff,                         )   UNITED STATES REDACTED EX PARTE
                                                    )   NOTICE OF IDENTIFICATION OF JUVENILE
12        v.                                        )   VICTIMS WITHIN RESTITUTION ORDER FOR
                                                    )   PURPOSE OF PAYMENT OF RESTITUTION
13   MICHAEL CAREY CLEMANS,                         )
                                                    )
14               Defendant.                         )   [18 U.S.C. § 3509(d)(2)]
                                                    )
15                                                  )
16

17          Pursuant to 18 U.S.C. § 3509(d)(2), the United States hereby files ex parte this notice of
18   identification of the juvenile victims “Angel,” “Nicole,” and “Ishin,” as referenced in the court’s
19   October 3, 2018, Order Regarding Restitution (ECF No. 140) in the instant case and for the purpose of
20   successfully and timely delivering this victim’s restitution payments as adjudged therein.
21          Section 3509(d)(2) provides:
22                  All papers to be filed in court that disclose the name of or any other
23                  information concerning a child shall be filed under seal without necessity
                    of obtaining a court order. The person who makes the filing shall submit
24                  to the clerk of the court –

25                  (A)       The complete paper to be kept under seal; and
26                  (B)    the paper with the portions of it that disclose the name of or other
                    information concerning a child redacted, to be placed in the public record.
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 1            In light of the above directive, and in an effort to maximize the Court’s ability to successfully
 2   contact and make payments to the above-referenced minor victims when restitution payment(s)
 3   regarding this victim are received, the government identifies juvenile victims “Angel,” “Nicole,” and
 4   “Ishin,” as follows:
 5            1.       Victim “Angel”:
 6                     Name: Mary Angel Quitaleg
 7                     DOB: 11/23/2006
 8                     Bank Account Information: Land Bank of the Philippines; routing number 010350025;
 9                     account number 0596-2190-39
10            2.       Victim “Nicole”:
11                     Name: Ella Mae Sebastian
12                     DOB: 09/02/2004
13                     Bank Account Information: Land Bank of the Philippines; routing number 010350025;
14                     account number 0596-2190-12
15            3.       Victim “Ishin”:
16                     Name: Jemaica Umali
17                     DOB: 03/31/2004
18                     Bank Account Information: Land Bank of the Philippines; routing number 010350025;
19                     account number 0596-2190-20
20            As further required by 18 U.S.C. § 3509(d)(2)(B), the United States provides a redacted
21   version of this notification to the clerk of the court that redacts reference to this victim’s identity
22   (either directly or through reference to this victim’s representative, if any) and can be “placed in the
23   public record.”
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27   UNITED STATES’ REDACTED EX PARTE NOTICE OF IDENTIFICATION OF
     JUVENILE VICTIMS WITHIN RESTITUTION ORDER FOR PURPOSES OF      2
28   PAYMENT OF RESTITUTION
                Case 2:15-cr-00227-JAM Document 146 Filed 06/08/22 Page 3 of 3


                                                                        Respectfully Submitted,
 1
      Dated: June 8, 2022                                               PHILLIP A. TALBERT
 2                                                                      United States Attorney
 3                                                            By:       /s/ Colleen M. Kennedy
                                                                        COLLEEN M. KENNEDY
 4                                                                      Assistant U.S. Attorney
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27   UNITED STATES’ REDACTED EX PARTE NOTICE OF IDENTIFICATION OF
     JUVENILE VICTIMS WITHIN RESTITUTION ORDER FOR PURPOSES OF      3
28   PAYMENT OF RESTITUTION
